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                       UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION


NORTHBROOK PARK DISTRICT, on behalf
of itself and all others similarly situated,

              Plaintiff,                       Civil Action No. 20-cv-07538

       v.                                      CLASS ACTION COMPLAINT

MR. DAVID’S FLOORING                           JURY TRIAL DEMANDED
INTERNATIONAL, LLC, DIVERZIFY+ LLC
f/k/a MR. DAVID’S FLOORING
INTERNATIONAL, LLC, PCI FLORTECH
INC., VORTEX COMMERCIAL FLOORING,
INC., CONSOLIDATED CARPET
ASSOCIATES, LLC, MICHAEL P. GANNON,
DELMAR E. CHURCH, JR., ROBERT A.
PATREY, JR., and KENNETH R. SMITH,

              Defendants.
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       Northbrook Park District (“Plaintiff”) hereby brings this action, on behalf of itself and all

persons and entities similarly situated, against Defendants Mr. David’s Flooring International,

LLC, Diverzify+ LLC f/k/a Mr. David’s Flooring International, LLC, PCI FlorTech Inc., Vortex

Commercial Flooring, Inc., Consolidated Carpet Associates, LLC, Michael P. Gannon, Delmar E.

Church, Jr., Robert A. Patrey, Jr., Kenneth R. Smith (collectively, “Defendants”) and co-

conspirators. Plaintiff alleges, based on information and belief and investigation by counsel except

where specifically alleged on the basis of personal knowledge, as follows:

                              I.      NATURE OF THIS ACTION

       1.      This class action is brought on behalf of Northbrook Park District and all persons

and entities who purchased commercial flooring services and products in the United States directly

from one or more of the Defendants from at least January 1, 2009 through the present (the “Class

Period”).

       2.      Defendants are providers of commercial flooring services and products. Generally,

commercial flooring providers remove any pre-existing flooring products at a job site, prepare a

floor surface for installation and install new flooring products, including but not limited to carpet,

wood, vinyl, tile and laminate flooring products.

       3.      Plaintiff alleges that Defendants unlawfully conspired and reached an agreement to

rig bids and fix prices of commercial flooring services and products sold in the United States in

violation of Section 1 of the Sherman Antitrust Act. Plaintiff further alleges that Defendants and

their co-conspirators took affirmative measures to fraudulently conceal the true nature of their

illegal conduct from Plaintiff and other members of the Class in furtherance of their conspiracy.

The combination and conspiracy engaged in by the Defendants and their co-conspirators was per

se unlawful.



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       4.      Since at least the start of 2009, Defendants have conspired to inflate, fix, raise,

maintain or artificially stabilize prices of commercial flooring services and products (the

“Conspiracy”). In furtherance of their Conspiracy, Defendants: (i) attended meetings and engaged

in private conversations to discuss methods for rigging bids and fixing prices of commercial

flooring services and products; (ii) reached agreements to rig bids and fix prices of commercial

flooring services and products sold in the United States; (iii) exchanged pricing and other

confidential information to facilitate coordination for commercial flooring services and products

to be sold in the Unites States; (iv) allocated potential customers and markets by determining in

advance which flooring co-conspirator would win a particular project or business; and (v) sold

commercial flooring services and products at collusive and noncompetitive prices in accordance

with their agreement.

       5.      The existence of the Defendants’ criminal Conspiracy has been confirmed by the

Antitrust Division of the United States Department of Justice (the “DOJ”), whose ongoing

investigation has resulted in criminal charges and guilty pleas involving several individuals and

entities in the commercial flooring industry.

       6.      To date, the DOJ has criminally charged five executives and two flooring providers

with conspiring to suppress and eliminate competition in the commercial flooring industry by

agreeing to rig bids and to fix prices of commercial flooring services and products sold in the

United States. All of these executives and co-conspirator companies have pled guilty to illegally

fixing the prices of commercial flooring services and products in violation of federal antitrust laws.

       7.      Defendants’ price-fixing conspiracy has had a widespread effect in the marketplace

for commercial flooring services and products, including exploiting park districts and recreational

facilities. Indeed, the DOJ has emphasized that “[a]ny collusion by commercial flooring



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contractors exploits local communities whose schools, hospitals, charities, and businesses are

entitled to the benefits of competitive bidding. The Justice Department and our law enforcement

partners will bring contractors to justice when they cheat rather than compete.” Further, the DOJ

has publicly stated that it is continuing to investigate criminal conduct in the commercial flooring

industry and expects to file additional criminal charges against other individuals and entities in the

future.

          8.    Defendants’ collusive actions have had the intended effect of artificially inflating

the prices of commercial flooring services and products. As a direct result of Defendants’ unlawful

conduct, Plaintiff and the Class members have paid higher, supracompetitive prices for

commercial flooring services and products than they would have paid in a competitive market, and

therefore have suffered injury to their business and property.

                             II.     JURISDICTION AND VENUE

          9.    Plaintiff brings this action on behalf of itself and all similarly situated persons and

entities under Section 16 of the Clayton Act, 15 U.S.C. § 26, to secure injunctive relief and

damages in excess of $5,000,000 for Defendants’ violations of Section 1 of the Sherman Antitrust

Act, 15 U.S.C. § 1.

          10.   This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331, 1337 and

Sections 4 and 16 of the Clayton Act, 15 U.S.C. §§ 15(a) and 26.

          11.   Venue is proper in this District under Sections 4, 12, and 16 of the Clayton Act, 15

U.S.C. §§ 15, 22 and 26 and 28 U.S.C. § 1391(b) and (c) because one or more Defendants reside

in, are found in, or have an agent or transacted business in this District, and because a substantial

portion of the affected interstate commerce was carried out in this District. Specifically,

Defendants Mr. David’s Flooring International, LLC, Diverzify+ LLC f/k/a Mr. David’s Flooring



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International, LLC, Vortex Commercial Flooring, Inc., and PCI FlorTech, Inc. each have their

principal place of business in this District. Moreover, individual Defendants Michael P. Gannon,

Delmar E. Church, Jr., Robert A. Patrey, Jr., and Kenneth R. Smith all reside in this District.

       12.     This Court has personal jurisdiction over each of the Defendants because, among

other reasons, each one has (i) transacted business throughout the United States, including in this

District; (ii) was a provider of commercial flooring services and products throughout the United

States, including in this District; (iii) had substantial contacts with the United States, including in

this District; and (iv) engaged in an antitrust conspiracy that was directed at and had a direct,

foreseeable and intended effect of causing injury to the business or property of persons residing in,

located in or doing business throughout the United States, including in this District.

       13.     The activities of Defendants and all co-conspirators alleged in this Complaint were

within the flow of, were intended to, and had direct, substantial and reasonably foreseeable effects

on, the foreign and interstate commerce of the United States.

                                           III.    PARTIES

       A.      Plaintiff

       14.     Northbrook Park District is a municipal corporation that is authorized by the laws

of the State of Illinois with its principal place of business in Northbrook, Illinois. Northbrook Park

District directly purchased commercial flooring services and products at prices artificially inflated

by one or more of the Defendants and their co-conspirators during the Class Period. Northbrook

Park District has therefore suffered antitrust injury as a direct result of the antitrust violations

alleged in this Complaint.




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       B.      Defendants

Mr. David’s Flooring & Diverzify

       15.     Mr. David’s Flooring International, LLC (“Mr. David’s Flooring”) is an Illinois

limited liability corporation with its principal place of business located at 865 W. Irving Park

Road, Itasca, Illinois 60143. During the Class Period, Mr. David’s Flooring sold commercial

flooring services and products directly to members of the Class in the United States. In

February 2020, Mr. David’s Flooring entered into an asset purchase agreement with

Diverzify+ LLC whereby Diverzify acquired and took over Mr. David’s Flooring business

operations.

       16.     Michael P. Gannon (“Gannon”) is an Illinois resident and resides in this District.

At all relevant times, Gannon was the vice president of sales at Mr. David’s Flooring.

       17.     Diverzify+ LLC (“Diverzify”), formerly known as Mr. David’s Flooring,

International, LLC, is an Illinois limited liability corporation with its principal place of

business located at 865 W. Irving Park Road, Itasca, Illinois 60143. In February 2020,

Diverzify entered into an asset purchase agreement with Mr. David’s Flooring whereby

Diverzify acquired and took over Mr. David’s Flooring business operations.

       18.     By acquiring and taking over Mr. David’s Flooring business operations,

Diverzify became the successor to Mr. David’s Flooring and is thus liable to Plaintiff and the

Class for the unlawful, anticompetitive conduct alleged herein.

       19.     As explained below, Gannon was the former vice president of sales for Mr.

David’s Flooring and was criminally charged by the DOJ in April 2019 for conspiring to rig

bids and fix prices of commercial flooring services and products sold in the United States.

The DOJ’s criminal charges made it clear that Gannon and his employer, Mr. David’s



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Flooring, engaged in a conspiracy to suppress and eliminate competition in the commercial

flooring market by rigging bids, submitting noncompetitive, complementary bids and fixing

the prices of commercial flooring services and products in violation of federal antitrust laws.

On April 18, 2019, Gannon pled guilty to the DOJ’s criminal price-fixing charges.

       20.    In order to shield its assets and avoid civil liability for its federal antitrust

violations, in early 2020 Mr. David’s Flooring re-branded and changed its name to Diverzify.

On February 1, 2020, Diverzify entered into an asset purchase agreement with Mr. David’s

Flooring whereby Diverzify acquired and took over Mr. David’s Flooring business operations.

       21.    Given that Gannon had been criminally charged by the DOJ and pled guilty in

April 2019, at the time Diverzify acquired and took over Mr. David’s Flooring business

operations in February 2020, Diverzify had actual and constructive knowledge of the criminal

misconduct that had occurred at Mr. David’s Flooring and its potential civil liability to victims

of the price-fixing conspiracy. Gannon’s plea agreement not only implicated Mr. David’s

Flooring but it also expressly stated that Gannon would be liable for “civil matters of any

kind.” As the DOJ’s criminal charges alleged that Gannon was acting at the direction of his

superiors at Mr. David’s Flooring, Diverzify knew or should have known that Mr. David’s

Flooring would likely be held responsible for any civil liability imputed to Gannon.

       22.    Further, at the time of the acquisition in February 2020, Diverzify also had

actual and constructive knowledge of the DOJ’s ongoing and widespread investigation into

antitrust violations in the commercial flooring industry. First, Diverzify knew that Gannon,

Mr. David’s Flooring’s former vice president of sales, was actively cooperating with the

DOJ’s antitrust investigation in accordance with his plea agreement. Second, in late 2019 Mr.

David’s Flooring’s co-conspirator, Defendant PCI FlorTech Inc., was criminally charged and



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pled guilty to the same price-fixing antitrust violations as Gannon. Similar to Gannon’s guilty

plea, PCI FlorTech’s plea agreement expressly contemplated the possibility of civil action—

such as the instant antitrust class action—and stated that the company would be liable for

“civil matters of any kind.”

       23.    Additionally, since the time of the acquisition, Diverzify has continued to

conduct business in the commercial flooring marketplace in the exact same manner as Mr.

David’s Flooring had previously operated. Other than the name change, Diverzify and Mr.

David’s Flooring are identical to one another and are one in the same.

       24.    According to various Secretary of State records, beginning in February 2020

Diverzify was formed and registered to conduct business in numerous states. Several

Secretary of State filings show that Diverzify’s corporate registration paperwork was signed

by Jordan Zmijewski, Mr. David’s Flooring’s former vice president of business development

and son of Mr. David’s Flooring owner Leonard Zmijewski.

       25.    There is a substantial continuity of business operations between Diverzify and

Mr. David’s Flooring. Indeed, Diverzify has taken over Mr. David’s Flooring corporate

headquarters, website, products and equipment, clients, services and its business locations.

       26.    Diverzify maintains its corporate headquarters and principal place of business

at the same Itasca, Illinois address as Mr. David’s Flooring, has the same telephone number

as Mr. David’s Flooring, its Internet website domain name (www.diverzify.com) is registered

to Mr. David’s Flooring and the content of the website is substantially similar to Mr. David’s

Flooring’s former website (www.mrdavids.com) and it has the same registered agent. In fact,

in an effort to advertise its expertise and experience in the commercial flooring industry,




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Diverzify’s website highlights many commercial flooring projects that were previously

completed by Mr. David’s Flooring personnel.

       27.    After the acquisition, Diverzify continues to be owned and operated by the

Zmijewski family. David and Leonard Zmijewski, former owners of Mr. David’s Flooring,

are listed as the contacts for Diverzify’s member registration with the Professional Flooring

Installers Association.

       28.    Further, Diverzify has retained most of Mr. David’s Flooring personnel,

including many senior-level executives and officers. For example, Scott Day is currently

employed as Diverzify’s chief operating officer, and he formerly served in that same position

for Mr. David’s Flooring. Likewise, Julie McCollum is Diverzify’s chief financial officer, the

exact same position she formerly held with Mr. David’s Flooring. Similarly, Jordan

Zmijewski, a former vice president of Mr. David’s Flooring, is also a vice president or

manager of Diverzify.

       29.    In addition to senior-level executives and management personnel, Diverzify

also employs a significant number of former Mr. David’s Flooring employees. For instance,

Mr. David’s Flooring former project manager Tammy McNeil, account executive William

Wolfson and president of sales Bill Graves are all currently employed by Diverzify.

       30.    Although Diverzify’s acquisition of Mr. David’s has been effectuated,

Diverzify continues to operate as and enter into commercial flooring agreements on projects

that were previously bid on by Mr. David’s Flooring. In February and March 2020, William

Wolfson signed various vendor agreements that were previously bid on by Mr. David’s

Flooring with a government cooperative purchase program for the Department of Texas

Education for commercial flooring services and products.



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       31.     Diverzify also holds itself out to the public as the same entity as Mr. David’s

Flooring.    Many     Diverzify   employees   have    email   addresses    with   domains    of

“@mrdavids.com” and “@diverzify.com.” Moreover, as recent as September 2020, Diverzify

personnel have been seen in the Chicagoland area operating motor vehicles bearing Mr.

David’s Flooring’s logo for business purposes.

       32.     As Diverzify had sufficient notice of Mr. David’s Flooring’s antitrust civil

liability and substantially continued Mr. David’s Flooring’s commercial flooring business

operations after the acquisition, Diverzify is liable to Plaintiff and the Class as Mr. David’s

Flooring’s successor.

       33.     Imposing federal successor liability over Diverzify is necessary to ensure that

Plaintiff and the Class have an adequate remedy to recover damages in full. First, under federal

antitrust laws, co-conspirators are jointly and severally liable for all damages caused by the

unlawful conspiracy. Second, antitrust damages are trebled by right. See 15 U.S.C. § 15(a)

(“[A]ny person who shall be injured in his business or property by reason of anything

forbidden in the antitrust laws may sue therefor . . . and shall recover threefold the damages

by him sustained.”).

       34.     As Mr. David’s Flooring’s assets were sold and its business operations were

taken over by Diverzify, Mr. David’s Flooring is no longer operating in the commercial

flooring industry and likely does not have sufficient assets to pay a class-wide, trebled

judgment. According to Illinois Secretary of State records, Mr. David’s Flooring is no longer

an active corporation and is not in good standing. Consequently, Plaintiff and the Class have

no adequate remedy at law against Mr. David’s Flooring for its significant civil liability in

this antitrust class action.



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       35.    If Diverzify is not held liable as the successor to Mr. David’s Flooring, Plaintiff

and the Class will suffer irreparable harm and the ability to effectively vindicate their rights

under federal antitrust laws would be adversely impacted.

PCI FlorTech

       36.    PCI FlorTech Inc. (“PCI FlorTech”) is an Illinois corporation with its principal

place of business at 910 W. National Avenue, Addison, Illinois 60101. During the Class

Period, PCI FlorTech sold commercial flooring services and products directly to members of

the Class in the United States.

Vortex Commercial Flooring & Consolidated Carpet

       37.    Vortex Commercial Flooring, Inc. (“Vortex Commercial Flooring”) is an Illinois

corporation with offices located at 25 Official Road, Addison, Illinois 60101 and 162 N.

Franklin, Suite 500, Chicago, Illinois 60606. During the Class Period, Vortex Commercial

Flooring sold commercial flooring services and products directly to members of the Class in

the United States. In October 2019, Consolidated Carpet Associates, LLC entered into an asset

purchase agreement with Vortex Commercial Flooring whereby Consolidated Carpet

acquired and took over Vortex Commercial Flooring’s business operations.

       38.    Delmar E. Church, Jr. (“Church”) is an Illinois resident and resides in this District.

At all relevant times, Church was an owner and president at Vortex Commercial Flooring.

       39.    Robert A. Patrey, Jr. (“Patrey”) is an Illinois resident and resides in this District. At

all relevant times, Patrey was an owner and executive vice president at Vortex Commercial

Flooring.




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       40.     Kenneth R. Smith (“Smith”) is an Illinois resident and resides in this District. At

all relevant times, Smith was an owner and executive vice president at Vortex Commercial

Flooring.

       41.     Consolidated Carpet Associates, LLC (“Consolidated Carpet”) is a New York

limited liability corporation with its principal place of business located at 16 W. 22nd Street, 12th

Floor, New York, New York 10010. In October 2019, Consolidated Carpet entered into an asset

purchase agreement with Vortex Commercial Flooring whereby Consolidated Carpet acquired and

took over Vortex Commercial Flooring’s business operations.

       42.     In order to shield its assets and avoid civil liability for its federal antitrust violations,

in October 2019 Vortex Commercial Flooring sold its entire business to Consolidated Carpet. By

acquiring and taking over Vortex Commercial Flooring’s business operations, Consolidated

Carpet became the successor to Vortex Commercial Flooring and is thus liable to Plaintiff and the

Class for the unlawful, anticompetitive conduct alleged herein.

       43.     As a result of the acquisition and resulting market presence in the Chicago, Illinois

commercial flooring industry, Consolidated Carpet created a new business entity named

Consolidated Flooring of Chicago, LLC. Consolidated Flooring of Chicago is led by Randy Rich

and Kristy Burlingame, Vortex Commercial Flooring’s former co-president and executive vice

president.

       44.     At the time of Consolidated Carpet’s acquisition of Vortex Commercial Flooring

in October 2019, Consolidated Carpet had actual and constructive knowledge of the DOJ’s

ongoing and widespread investigation into antitrust violations in the commercial flooring industry.

As explained in detail below, the DOJ’s antitrust investigation of providers of commercial flooring

services and products became public in April 2019 when Gannon of Mr. David’s Flooring was



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criminally charged and pled guilty to participating in a conspiracy to suppress and eliminate

competition in the commercial flooring market by rigging bids, submitting noncompetitive,

complementary bids and fixing the prices of commercial flooring services and products in violation

of federal antitrust laws. When the DOJ announced the criminal charges against Gannon, Assistant

Attorney General Makan Delrahim stated that “[t]oday’s charge is the first of what we expect to

many in this ongoing investigation into bid rigging.”

       45.     Further, in late 2019 another commercial flooring co-conspirator, Defendant PCI

FlorTech Inc., was criminally charged and pled guilty to the same price-fixing antitrust violations

as Gannon of Mr. David’s Flooring. In a press release announcing the criminal charges against

PCI FlorTech, Assistant Attorney General Makan Delrahim stated that the DOJ’s Antitrust

Division would “continue to investigate and prosecute contractors and their executives who cheat

in the bidding process.”

       46.     In light of the DOJ’s widely-publicized antitrust investigation and considering the

fact that Consolidated Carpet hired two of Vortex Commercial Flooring’s executives to run its

newly-created commercial flooring business entity, at the time of acquiring Vortex Commercial

Flooring in October 2019, Consolidated Carpet undoubtedly knew that Vortex Commercial

Flooring and its executives were under investigation for violations of federal antitrust laws and

had significant potential civil liability to victims of the price-fixing conspiracy.

       47.     On December 10, 2019, just two months after Consolidated Carpet acquired Vortex

Commercial Flooring, the DOJ charged three executives of Vortex Commercial Flooring with

conspiring to rig bids and fix the prices of commercial flooring services and products sold in the

United States. All three Vortex Commercial Flooring executives, including its owners, president

and executive vice presidents, have pled guilty to the criminal price-fixing charges.



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       48.     Additionally, since the time Consolidated Carpet acquired and took over the

operations of Vortex Commercial Flooring, Consolidated Carpet has continued to conduct

business in the Chicagoland commercial flooring marketplace.

       49.     In a press release announcing the acquisition of Vortex Commercial Flooring,

Consolidated Carpet’s chief executive officer stated that “[a]cquiring the assets of Vortex will

provide us a solid platform to expand the scope of our tried and true sales and operations model

into one of the most significant commercial marketplaces in the country. The scale of our combined

operation, as well as the sharing of our best practices, technology, and support services will fuel

our growth and expand our market share in the evolving commercial flooring industry.”

       50.     There is a substantial continuity of business operations between Consolidated

Carpet and Vortex Commercial Flooring. Indeed, Consolidated Carpet has taken over Vortex

Commercial Flooring’s corporate headquarters, products and equipment, clients, services and its

business locations.

       51.     As a result of the acquisition, Consolidated Carpet created Consolidated Flooring

of Chicago, LLC, a wholly-owned subsidiary, to take over and operate Vortex Commercial

Flooring’s business operations. Consolidated Flooring of Chicago maintains its principal place of

business at the same Addison, Illinois address that was previously used by Vortex Commercial

Flooring prior to the acquisition.

       52.     Further, Consolidated Flooring of Chicago has retained Vortex Commercial

Flooring’s senior-level executives and officers to manage the business and run the day-to-day

operations. Randy Rich, Vortex Commercial Flooring’s former co-president, currently serves as

the president of Consolidated Flooring of Chicago. Moreover, Kristy Burlingame, Vortex




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Commercial Flooring’s former executive vice president, maintains the same position at

Consolidated Flooring of Chicago.

        53.     In addition to senior-level management, Consolidated Flooring of Chicago has also

retained other former employees of Vortex Commercial Flooring. For example, Vortex

Commercial Flooring’s former project manager Jenn Stephens, proposal project manager Eric

Huffman and project leader Lauren Enders are all currently employed by Consolidated Flooring

of Chicago.

        54.     As Consolidated Carpet had sufficient notice of Vortex Commercial Flooring’s

antitrust civil liability and substantially continued Vortex Commercial Flooring’s commercial

flooring business operations after the acquisition, Consolidated Carpet is liable to Plaintiffs and

the Class as Vortex Commercial Flooring’s successor.

        55.     Imposing federal successor liability over Consolidated Carpet is necessary to

ensure that Plaintiff and the Class have an adequate remedy to recover damages in full. First, under

federal antitrust laws, co-conspirators are jointly and severally liable for all damages caused by the

unlawful conspiracy. Second, antitrust damages are trebled by right. See 15 U.S.C. § 15(a) (“[A]ny

person who shall be injured in his business or property by reason of anything forbidden in the

antitrust laws may sue therefor . . . and shall recover threefold the damages by him sustained.”).

        56.     As Vortex Commercial Flooring’s assets were sold and its business operations were

taken over by Consolidated Carpet, Vortex Commercial Flooring is no longer operating in the

commercial flooring industry and likely does not have sufficient assets to pay a class-wide, trebled

judgment. Consequently, Plaintiff and the Class have no adequate remedy at law against Vortex

Commercial Flooring for its significant civil liability in this antitrust class action.




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       57.     If Consolidated Carpet is not held liable as the successor to Vortex Commercial

Flooring, Plaintiff and the Class will suffer irreparable harm and the ability to effectively vindicate

their rights under federal antitrust laws would be adversely impacted.

       58.     “Defendant,” when used, includes all of the Defendant’s predecessors, including

those merged with or acquired by any Defendant and each named Defendant’s wholly-owned or

controlled subsidiaries or affiliates that provide commercial flooring services and products directly

to purchasers in the United States during the Class Period.

       C.      Co-Conspirators

       59.     Various other persons, firms and corporations, not named as Defendants, have

participated as co-conspirators with Defendants and have performed acts and made statements

in furtherance of the Conspiracy. Defendants are jointly and severally liable for the acts of

their co-conspirators, whether named as Defendants or not.

       60.     There are numerous named and unnamed co-conspirator commercial flooring

providers and executives that performed acts and made statements in furtherance of the

Conspiracy. These include, but are not limited to, those companies that have been identified

by the DOJ as co-conspirators (e.g., Company A, Company C, Company E, Company G,

Company H) but have not been specifically named.

       61.     Moreover, during the Class Period, Carter Brett (“Brett”) was an account

executive for Mohawk Carpet, LLC, a manufacturer of commercial flooring products located

in the State of Georgia. On February 5, 2020, the DOJ filed criminal charges against Brett for

conspiring to rig bids and fix prices of commercial flooring products and services, and for his

role in a money laundering conspiracy involving kickbacks.




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       62.     According to the DOJ, Brett participated in a conspiracy with companies

involved in the sale of commercial flooring products and services, including commercial

flooring providers located in this District, for which the primary purpose was to suppress and

eliminate competition by agreeing to rig bids and fix prices of commercial flooring services

and products sold in the United States.

       63.     In furtherance of the conspiracy, Brett initiated and orchestrated an unlawful

scheme to rotate winning bids for commercial flooring contracts that were to be performed in

this District. Specifically, Brett offered preferential pricing to the co-conspirator commercial

flooring provider that was designated to win a particular flooring contract, and then directed

other co-conspirator flooring providers to submit noncompetitive, complementary bids so that

the designated winning co-conspirator commercial flooring provider would have the lowest

bid and be awarded the project.

       64.     In exchange for Brett’s preferential pricing on commercial flooring products,

co-conspirator commercial flooring providers paid tens of thousands of dollars in kickbacks

to a shell corporation created by Brett.

       65.     In a DOJ press release issued in connection with Brett’s criminal charges,

Special Agent in Charge of the FBI’s Chicago Field Division, Emmerson Buie Jr., stated,

“[w]hen businesses rig bids to increase their own profits illegally, it is our citizens who suffer.

Today’s charges illustrate our ongoing efforts to protect Americans from price fixing and

other dishonest business practices.”

       66.     On March 5, 2020, Brett pled guilty to participating in a criminal conspiracy to

suppress and eliminate competition by agreeing to rig bids and fix prices of commercial

flooring services and products sold in the United States in violation of the Sherman Antitrust



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Act. Pursuant to the terms of Brett’s plea agreement, the DOJ will ask the Court to order Brett

to pay a $10,000 criminal fine and receive a prison sentence of 16 months.

       67.     According to Brett’s plea agreement, Brett and his co-conspirators rigged bids

and fixed the prices of commercial flooring products and services for more than 15 projects

with a total value in excess of $600,000.

       68.     Each Defendant and co-conspirator acted as the agent or joint-venturer of the

other Defendants and co-conspirators with respect to the acts, violations and common course

of conduct alleged by Plaintiff.

             IV.    COMMERCIAL FLOORING INDUSTRY BACKGROUND

       69.     Commercial sites such as corporate offices, retail stores, hospitals, schools,

park districts and recreational facilities are subject to high traffic patterns from thousands of

people walking across the floor every day. Consequently, commercial spaces require a durable

flooring product that can withstand heavy foot traffic over time.

       70.     Providers of commercial flooring services and products remove any pre-

existing flooring products at a job site, prepare a floor surface for installation and install new

flooring products, including but not limited to carpet, wood, vinyl, tile, and laminate flooring

products.

       71.     Commercial sites where flooring services and products are removed and

installed include schools, colleges, institutes, park and recreational facilities, retail stores, new

construction sites, healthcare facilities, corporate offices and other locations.

       72.     The demand for commercial flooring services and products is highly inelastic

because there are no close substitutes. In a market where demand is inelastic, collusion is

facilitated as consumers cannot substitute products. Thus, providers can raise prices to



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supracompetitive levels and increase profits. In a market where demand is inelastic,

purchasers are forced to pay these supracompetitive prices.

       73.      Because commercial flooring services and products are essential components

to any physical structure in addition to park and recreational facilities, Plaintiff and Class

members were forced to purchase these products at supracompetitive prices throughout the

Class Period.

                         V.     OPPORTUNITIES TO CONSPIRE

       74.      The Defendants in this matter have operated in the commercial flooring

marketplace for many years and are no strangers to each other. Indeed, during the Class Period

Defendants have had extensive interactions and communications with one another through

joint ventures and commercial flooring trade associations.

       75.      From 2006 to 2014, Defendants PCI FlorTech and Vortex Commercial

Flooring operated a joint venture called PCI FlorTech/Vortex JV, LLC. According to Illinois

Secretary of State records, the managers of the joint venture were Michael O’Connell, the

former president of Defendant PCI FlorTech, and Defendant Church, the former owner and

president of Vortex Commercial Flooring.

       76.      Additionally, Defendants are members of the same commercial flooring trade

associations and have attended industry events that provided the opportunity to meet, disguise

their improper discussions and perform acts in furtherance of the Conspiracy. For example,

Defendants are members of the Professional Flooring Installers Association (the “PFIA”), a

trade association for Chicagoland commercial flooring providers and specialists. According

to the PFIA’s website, its officers and board of directors include:




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             •   President: Tom Sheridan of Defendant PCI FlorTech;

             •   Vice President: Kristy Burlingame of Defendant Consolidated Carpet (formerly
                 Defendant Vortex Commercial Flooring); and

             •   Joint Labor/Management Chair: Leonard Zmijewski of Defendant Diverzify
                 (formerly Mr. David’s Flooring).

       77.       Defendants are also all members of the Starnet commercial flooring trade

association, a large network of locally owned full-service commercial flooring contractors

that service more than 300 locations throughout North America.

       78.       Defendants have utilized the Starnet trade association as a method to meet with

each other and discuss potential business opportunities. Dave Meberg, the president and chief

executive officer of Consolidated Carpet, stated in a 2019 interview that he met several

executives employed by Vortex Commercial Flooring through the Starnet trade association

and developed a “great friendship with them over the years.”

       79.       After being introduced to one another through Starnet, Meberg further

explained in the interview that: (i) Consolidated Carpet has had direct conversations with

Vortex Commercial Flooring executives; (ii) the two flooring companies share several

customers located throughout the country; and (iii) they routinely discussed the possibility of

an acquisition.

       80.       In October 2019, Consolidated Carpet announced that it entered into an asset

purchase agreement with Vortex Commercial Flooring whereby Consolidated Carpet

acquired and took over all of Vortex Commercial Flooring’s business operations.

       81.       When responding to questions regarding Consolidated Carpet’s acquisition of

Vortex Commercial Flooring, Meberg emphasized his long-standing relationship with Vortex

and publicly praised the skills and efforts of Vortex’s former owner and president, Defendant


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Church. As explained below, Church is one of three Vortex Commercial Flooring executives

that have been criminally charged by the DOJ and pled guilty to participating in an unlawful

conspiracy to fix the prices of commercial flooring services and products sold throughout the

United States.

                     VI.    DEFENDANTS’ ANTITRUST CONSPIRACY

       82.       During the Class Period, Defendants and their co-conspirators formed a cartel

to suppress and eliminate competition in the commercial flooring industry by agreeing to rig

bids and fix the prices of commercial flooring services and products.

       83.       Defendants and their co-conspirators participated in meetings, conversations

and communications to discuss methods for rigging bids and fixing the prices of commercial

flooring services and products sold in the United States.

       84.       Defendants and their co-conspirators agreed, during those meetings,

conversations and other communications, to rig bids and to fix the prices of commercial

flooring services and products sold in in the United States.

       85.       In furtherance of their unlawful Conspiracy, Defendants and their co-

conspirators exchanged pricing and other confidential information for the purpose of fixing

the prices of commercial flooring services and products sold to potential customers.

       86.       By sharing pricing and other confidential information, Defendants and their co-

conspirators allocated potential customers in the commercial flooring services and products

marketplace and determined in advance which flooring contractor would submit the winning

bid for a particular flooring job.

       87.       Further, Defendants and their co-conspirators took affirmative steps to

fraudulently conceal the true nature of their illegal conduct from Plaintiff and other members



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of the Class. After designating which flooring contractor would submit the winning bid for a

new project, the other co-conspirator flooring companies provided complementary,

noncompetitive bids for commercial flooring services and products to potential customers.

       88.    Defendants’ Conspiracy created the appearance that they were competing on

price, but in reality they were unlawfully and artificially inflating the prices of commercial

flooring services and products sold in the United States in violation of federal antitrust laws.

             VII.   THE GOVERNMENT’S ANTITRUST INVESTIGATION

       89.    The DOJ is conducting an ongoing antitrust investigation in the commercial

flooring services and products industry. To date, the DOJ’s investigation has resulted in

criminal price-fixing charges against five commercial flooring executives and two flooring

contractors. The DOJ has also indicated that it will bring additional criminal charges against

other commercial flooring providers and executives in the near future.

       90.    Various corporations and individuals, both named and unnamed, have been

identified as participating in the criminal Conspiracy.

       91.    Michael P. Gannon was a former vice president of sales at Mr. David’s

Flooring.

       92.    On April 3, 2019, the DOJ charged Defendant Gannon with participating in a

combination and conspiracy with other companies and individuals to suppress and eliminate

competition by agreeing to rig bids and fix prices of commercial flooring services and

products sold in the United States.

       93.    Gannon, acting on behalf of Mr. David’s Flooring, submitted supracompetitive

bids to potential customers for commercial flooring services and products. Further, to

fraudulently conceal his unlawful conduct, Gannon submitted rigged bids and solicited



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higher-priced, complementary bids from his co-conspirators so that Mr. David’s Flooring

would be the low bidder and win the contract award for a given flooring project.

       94.    In announcing the criminal price-fixing violation against Gannon, Assistant

Attorney General Makan Delrahim of the DOJ stated that “[t]oday’s charge is the first of what

we expect to be many in this ongoing investigation” and that the DOJ along with its law

enforcement partners would “bring contractors to justice when they cheat rather than

compete.”

       95.    The DOJ has made it clear that Gannon did not act alone. There were several

other executives at Mr. David’s Flooring that actively participated in the Conspiracy to rig

bids and fix the prices of commercial flooring services and products sold in the United States.

       96.    Mr. David’s Flooring was owned by David, Leonard and Michael Zmijewski.

According to the DOJ, during the Class Period, the owners of Mr. David’s Flooring were co-

conspirators with Gannon and were classified as Co-conspirator A1, Co-conspirator A2, and

Co-conspirator A3.

       97.    Additionally, other employees at Mr. David’s Flooring also acted as co-

conspirators including Co-conspirator A4, a sales manager, and Co-conspirator A5, a vice

president.

       98.    Gannon, acting on behalf of Mr. David’s Flooring and at the direction of his

superiors, carried out numerous unlawful acts in furtherance of the Conspiracy. At the request

of Mr. David’s Flooring’s senior-level executives, including following instructions from an

owner of Mr. David’s Flooring named Co-conspirator A3, Gannon solicited complementary

bids from other commercial flooring providers, submitted collusive, supracompetitive bids to




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potential commercial flooring customers and performed other acts for the purpose of

monitoring and enforcing adherence to the Conspiracy.

       99.    On April 18, 2019, Gannon pled guilty to participating in a criminal conspiracy

to suppress and eliminate competition by agreeing to rig bids and fix prices of commercial

flooring services and products sold in the United States in violation of the Sherman Antitrust

Act. Pursuant to Gannon’s plea agreement, the DOJ will ask the Court to order Gannon to pay

a $28,000 criminal fine and receive a prison sentence of one year and a day.

       100.   Gannon’s participation in the Conspiracy was extensive and included the

following acts in furtherance of the Conspiracy: he attended meetings and participated in

conversations with representatives of other flooring contractors to discuss methods for rigging

bids and fixing the prices of commercial flooring services and products. During these

meetings and conversations, Gannon and his co-conspirators agreed to rig bids and fix the

prices of commercial flooring services and products to be sold in the United States. Further,

to carry out their unlawful Conspiracy, Gannon and his co-conspirators exchanged pricing

and other confidential information to designate which flooring contractor would win a given

project and enable co-conspirator companies to submit noncompetitive, complementary bids

for commercial flooring services and products to potential customers.

       101.   Gannon’s plea agreement also outlines that he made decisions regarding bids

that Mr. David’s Flooring had rigged; submitted rigged bids on behalf of Mr. David’s Flooring

or caused others to submit rigged bids on behalf of Mr. David’s Flooring; signed bids on

behalf of Mr. David’s Flooring that he knew were rigged; submitted, or directed his

subordinates to submit, complementary bids on the behalf of other co-conspirator flooring

companies; solicited, or directed his subordinates to solicit, complementary bids from other



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co-conspirator flooring companies so that Mr. David’s Flooring would be the low bidder for

a given project; provided instructions to his subordinates on the methods, means and manner

to rig bids; sold commercial flooring services and products to customers at collusive and

noncompetitive prices; accepted payment for commercial flooring services and products at

collusive and non-competitive prices; and communicated directly with executives, principals

and managers of co-conspirator flooring companies for the purpose of monitoring and

enforcing adherence to the Conspiracy.

       102.   On August 19, 2019, the DOJ charged Defendant PCI FlorTech with

participating in a criminal conspiracy to suppress and eliminate competition by agreeing to

rig bids and fix prices of commercial flooring services and products sold in the United States.

       103.   Similar to Gannon’s criminal information, the DOJ’s charging document

against PCI FlorTech states that PCI FlorTech and its co-conspirators carried out a criminal

conspiracy by: (i) attending meetings and participating in private conversations to discuss

methods for rigging bids and fixing prices of commercial flooring services and products; (ii)

reaching an agreement to rig bids and fix prices of commercial flooring services and products

sold in the United States; (iii) exchanging pricing and other confidential information to

facilitate coordination for commercial flooring services and products to be sold in the United

States; (iv) allocating potential customers and markets by determining in advance which

commercial flooring co-conspirator would win a particular project or business; (v) soliciting

noncompetitive, complementary bids to provide commercial flooring services and products

to potential customers; (vi) submitting noncompetitive, complementary bids in furtherance of

the Conspiracy; (vii) selling commercial flooring services and products at collusive and

noncompetitive prices in accordance with the Conspiracy; and (viii) engaging in



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conversations and other communications for the purpose of monitoring and enforcing

adherence to the Conspiracy.

       104.      Michael O’Connell served as president of PCI FlorTech from 1994 to 2017.

According to the criminal charges filed by the DOJ against Gannon of Mr. David’s Flooring,

on numerous occasions, Gannon of Mr. David’s Flooring solicited collusive, complementary

bids from PCI FlorTech’s former president, Co-conspirator C1. Further, during the Class

Period Gannon had direct email correspondence with PCI FlorTech’s executives, including

its former and current president, regarding the rigging of bids and submission of

supracompetitive pricing on commercial flooring projects that were to be performed in the

United States.

       105.      On September 19, 2019, PCI FlorTech pled guilty to the DOJ’s criminal

charges and agreed to pay a criminal fine of $150,000. In its plea agreement, PCI FlorTech

admitted to participating in a conspiracy with other commercial flooring providers and

executives to suppress and eliminate competition by agreeing to rig bids and fix prices of

commercial flooring services and products sold in the United States. In furtherance of the

alleged Conspiracy, PCI FlorTech, including its former president and owner, exchanged

confidential pricing information with other co-conspirator commercial flooring providers and

submitted noncompetitive, complementary bids to potential customers in accordance with

Defendants’ conspiratorial agreements on commercial flooring contracts valued at millions of

dollars.

       106.      In a DOJ press release issued in connection with PCI FlorTech’s guilty plea,

Assistant Attorney General Makan Delrahim stated that PCI FlorTech and its co-conspirators

“undermin[ed] the competitive process that consumers—including schools and charities—



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depend upon to get a competitive price for flooring.” Moreover, Federal Bureau of

Investigation Special Agent Jeffrey S. Sallet exclaimed that “PCI FlorTech illegally conspired

to elevate bid prices, ultimately cheating the public out of competitive pricing necessary to

complete construction projects.”

       107.   On December 10, 2019, the DOJ charged Vortex Commercial Flooring

executives Patrey, Smith and Church with participating in a criminal conspiracy to suppress

and eliminate competition by agreeing to rig bids and fix prices of commercial flooring

services and products sold in the United States. During the Class Period, Patrey and Smith

were principal owners and executive vice presidents of Vortex Commercial Flooring while

Church was a principal owner and president of Vortex Commercial Flooring.

       108.   The DOJ’s charging document against Patrey, Smith and Church alleged that

Vortex Commercial Flooring executives entered into in a combination and conspiracy with

Defendants and other commercial flooring co-conspirator individuals and entities to fix the

prices of commercial flooring services and products sold in the United States in violation of

the Sherman Antitrust Act.

       109.   Nearly identical to the criminal charges against Gannon of Mr. David’s

Flooring and co-conspirator PCI FlorTech, the DOJ charging document against Patrey, Smith

and Church alleged that these executives carried out a criminal conspiracy by: (i) attending

meetings and participating in private conversations to discuss methods for rigging bids and

fixing prices of commercial flooring services and products; (ii) reaching an agreement to rig

bids and fix prices of commercial flooring services and products sold in the United States;

(iii) exchanging pricing and other confidential information to facilitate coordination for

commercial flooring services and products to be sold in the Unites States; (iv) allocating



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potential customers and markets by determining in advance which flooring co-conspirator

would win a particular project or business; (v) soliciting noncompetitive, complementary bids

to provide commercial flooring services and products to potential customers; (vi) submitting

noncompetitive, complementary bids in furtherance of the Conspiracy; (vii) selling

commercial flooring services and products at collusive and noncompetitive prices in

accordance with the Conspiracy; and (viii) engaging in conversations and other

communications for the purpose of monitoring and enforcing adherence to the Conspiracy.

         110.   On February 27, 2020, Patrey pled guilty to participating in a criminal

conspiracy to suppress and eliminate competition by agreeing to rig bids and fix prices of

commercial flooring services and products sold in the United States in violation of the

Sherman Antitrust Act. Pursuant to Patrey’s plea agreement, the DOJ will ask the Court to

order Patrey to pay a $62,733.33 criminal fine and receive a prison sentence of one year and

a day.

         111.   In his plea agreement, Patrey admitted that in furtherance of the alleged

Conspiracy, he attended meetings and participated in conversations with other co-conspirators

in order to discuss methods for rigging bids and fixing the prices of commercial flooring

services and products to be sold in the United States. Further, to carry out their unlawful

Conspiracy, Patrey and his co-conspirators exchanged pricing and other confidential

information to designate which flooring contractor would win a given project and enable co-

conspirator companies to submit noncompetitive, complementary bids for commercial

flooring services and products to potential customers.

         112.   Patrey’s participation in the Conspiracy was extensive and included the

following acts in furtherance of the Conspiracy: he made decisions regarding bids that Vortex



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Commercial Flooring had rigged; submitted rigged bids on behalf of Vortex Commercial

Flooring or caused others to submit rigged bids on behalf of Vortex Commercial Flooring;

signed bids on behalf of Vortex Commercial Flooring that he knew were rigged; submitted,

or directed his subordinates to submit, complementary bids on the behalf of other co-

conspirator flooring companies; solicited, or directed his subordinates to solicit,

complementary bids from other co-conspirator flooring companies so that Vortex Commercial

Flooring would be the low bidder for a given project; provided instructions to his subordinates

on the methods, means and manner to rig bids; sold commercial flooring services and products

to customers at collusive and noncompetitive prices; accepted payment for commercial

flooring services and products at collusive and non-competitive prices; and communicated

directly with executives, principals and managers of co-conspirator flooring companies for

the purpose of monitoring and enforcing adherence to the Conspiracy.

       113.   On March 9, 2020, Smith pled guilty to participating in a criminal conspiracy

to suppress and eliminate competition by agreeing to rig bids and fix prices of commercial

flooring services and products sold in the United States in violation of the Sherman Antitrust

Act. Pursuant to Smith’s plea agreement, the DOJ will ask the Court to order Smith to pay a

$62,733.33 criminal fine and receive a prison sentence of one year and a day.

       114.   In his plea agreement, Smith admitted that in furtherance of the alleged

Conspiracy, he attended meetings and participated in conversations with other Defendants in

order to discuss methods for rigging bids and fixing the prices of commercial flooring services

and products to be sold in the United States. Further, to carry out their unlawful Conspiracy,

Smith and his co-conspirators exchanged pricing and other confidential information to

designate which flooring contractor would win a given project and enable co-conspirator



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companies to submit noncompetitive, complementary bids for commercial flooring services

and products to potential customers.

       115.   Smith’s participation in the Conspiracy was extensive and included the

following acts in furtherance of the Conspiracy: he made decisions regarding bids that Vortex

Commercial Flooring had rigged; submitted rigged bids on behalf of Vortex Commercial

Flooring or caused others to submit rigged bids on behalf of Vortex Commercial Flooring;

signed bids on behalf of Vortex Commercial Flooring that he knew were rigged; submitted,

or directed his subordinates to submit, complementary bids on the behalf of other co-

conspirator flooring companies; solicited, or directed his subordinates to solicit,

complementary bids from other co-conspirator flooring companies so that Vortex Commercial

Flooring would be the low bidder for a given project; provided instructions to his subordinates

on the methods, means, and manner to rig bids; sold commercial flooring services and

products to customers at collusive and noncompetitive prices; accepted payment for

commercial flooring services and products at collusive and non-competitive prices; and

communicated directly with executives, principals, and managers of co-conspirator flooring

companies for the purpose of monitoring and enforcing adherence to the Conspiracy.

       116.   On March 9, 2020, the DOJ issued a press release in connection with Patrey’s

and Smith’s agreements to plead guilty for their role in the antitrust criminal Conspiracy to

rig bids and fix prices of commercial flooring services and products sold in the United States.

Assistant Attorney General Makan Delrahim of the DOJ stated that “[t]he recent guilty pleas

are the latest in the government’s investigation, and they won’t be the last.”

       117.   On August 27, 2020, the DOJ charged Defendant Vortex Commercial Flooring

with participating in a criminal conspiracy to suppress and eliminate competition by agreeing



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to rig bids and fix prices of commercial flooring services and products sold in the United

States.

          118.   The DOJ’s criminal charges against Vortex Commercial Flooring alleged that

the company and its executives carried out a criminal conspiracy by: (i) attending meetings

and participating in private conversations to discuss methods for rigging bids and fixing prices

of commercial flooring services and products; (ii) reaching an agreement to rig bids and fix

prices of commercial flooring services and products sold in the United States; (iii) exchanging

pricing and other confidential information to facilitate coordination for commercial flooring

services and products to be sold in the Unites States; (iv) allocating potential customers and

markets by determining in advance which flooring co-conspirator would win a particular

project or business; (v) soliciting noncompetitive, complementary bids to provide commercial

flooring services and products to potential customers; (vi) submitting noncompetitive,

complementary bids in furtherance of the Conspiracy; (vii) selling commercial flooring

services and products at collusive and noncompetitive prices in accordance with the

Conspiracy; and (viii) engaging in conversations and other communications for the purpose

of monitoring and enforcing adherence to the Conspiracy. According to the DOJ, Vortex

Commercial Flooring has agreed to plead guilty to the criminal price-fixing charges.

          119.   The DOJ’s charging document against Vortex Commercial Flooring and its

executives also disclosed that the government is investigating several other unnamed co-

conspirator commercial flooring providers: Company A, Company C, Company E, Company

G and Company H. The DOJ further disclosed that these unnamed co-conspirators are Illinois

entities with principal places of business in this District and performed acts in furtherance of

the alleged antitrust Conspiracy.



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       120.   On November 18, 2020, Vortex Commercial Flooring’s former owner and

president, Defendant Church, pled guilty to participating in a criminal conspiracy to suppress

and eliminate competition by agreeing to rig bids and fix prices of commercial flooring

services and products sold in the United States in violation of the Sherman Antitrust Act.

Pursuant to his plea agreement, the DOJ will ask the Court to order Church to pay a $75,280

criminal fine and receive a prison sentence of 14 months. Further, Church has agreed to

cooperate with the DOJ as it continues to investigate bid rigging, price fixing and other

anticompetitive conduct in the commercial flooring industry.

       121.   In a DOJ press release issued in connection with Church’s guilty plea, Assistant

Attorney General Makan Delrahim stated that “[t]he recent guilty plea—a plea from the

highest-ranking executive to date—marks the continued progress of the latest milestone in

this investigation. The Antitrust Division and its law enforcement partners are committed to

holding responsible the most-senior culpable individuals that engage in and direct harmful bid

rigging conspiracies.”

       122.   The DOJ’s criminal charges and Defendants’ guilty pleas are merely the tip of

the iceberg. The government’s antitrust investigations have uncovered the existence of a well-

coordinated and long-running series of schemes to rig bids and fix the prices of commercial

flooring services and products sold in the United States. Plaintiff does not yet have access to

all the of the information available to the DOJ. However, what is known in light of the

evidence described above is that numerous bids were rigged and prices were fixed through

specific acts of unlawful collusion by Defendants and their co-conspirators.




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                                  VIII. ANTITRUST INJURY

       123.    Defendants’ conspiracy caused injury to Plaintiff and members of the Class by

suppressing price competition among providers of commercial flooring services and products,

thereby depriving all direct purchasers of commercial flooring services and products the benefits

of a competitive market, and resulted in the setting of prices at artificially high levels.

       124.    As a direct result of Defendants’ conspiracy, Plaintiff and members of the Class

have been injured in their business or property in that they paid more for commercial flooring

services and products than otherwise would have been the case in a competitive market.

       125.    Defendants knew and intended that their pricing actions relating to their sale of

commercial flooring services and products would have a direct impact on prices for all direct

purchasers of commercial flooring services and products throughout the United States.

 IX.     DEFENDANTS ACTIVELY CONCEALED THEIR CRIMINAL CONSPIRACY

       126.    Defendants and their co-conspirators affirmatively and wrongfully concealed their

anticompetitive conduct from Plaintiff and the Class from at least January 1, 2009 through at least

April 3, 2019, when the DOJ antitrust investigations of providers of commercial flooring services

and products became public. During that time, Plaintiff and the Class did not learn or discover the

operative facts giving rise to their claims, despite due diligence. Thus, Defendants’ fraudulent

concealment tolled the statute of limitations through at least April 3, 2019.

       127.    Defendants and their co-conspirators’ successful contract, combination or

conspiracy was by its nature inherently self-concealing.

       128.    Defendants and their co-conspirators represented publicly, both to customers and

otherwise, that their pricing activities were unilateral and independent. In making those false




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representations, Defendants misled Plaintiff and members of the Class as to the true, collusive and

coordinated nature of their price-fixing activities.

       129.    Defendants’ and their co-conspirators’ wrongful conduct was carried out in part

through means and methods that were designed to avoid detection, and which, in fact, successfully

precluded detection.

       130.    In particular, Defendants and their co-conspirators participated in private meetings,

conversations and communications to discuss bid rigging, price-fixing and customer and jobsite

allocation that affected customers throughout the United States. During these secret meetings,

conversations and communications, Defendants and their co-conspirators agreed to rig bids and

fix prices for prospective commercial flooring customers throughout the United States.

       131.    As a result of their secret coordinated actions, and unbeknownst to Plaintiff and the

Class, Defendants and their co-conspirators sold commercial flooring services and products to

purchasers in the United States at collusive and supracompetitive prices.

       132.    Despite due diligence, Plaintiff had no knowledge of Defendants’ and their co-

conspirators’ unlawful contract, combination or conspiracy.

       133.    Plaintiff received pricing information from one or more of Defendants or their co-

conspirators. Plaintiff had no way to know the bids it received were rigged and the prices were

higher than they should have been due to the unlawful Conspiracy alleged herein.

       134.    Plaintiff did not discover and could not have discovered Defendants’ and their co-

conspirators’ unlawful contract, combination or conspiracy at any earlier date, despite due

diligence. Defendants and their co-conspirators undertook affirmative acts of concealment of their

contract, combination or conspiracy, including attending secret meetings, exchanging confidential

pricing information, making misrepresentations to Plaintiff and the Class of the reasons for the



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prices charged and engaging in secret conversations concerning the bid rigging and price fixing of

commercial flooring services and products.

                            X.     CLASS ACTION ALLEGATIONS

          135.   Plaintiff brings this action both on behalf of itself and all others similarly

situated (the “Class”) pursuant to Federal Rules of Civil Procedure 23(a), (b)(2), and (b)(3).

The Class is defined as follows:

          All persons and entities who purchased commercial flooring services and products in
          the United States directly from one or more of the Defendants or their co-conspirators
          (or any controlled subsidiary, affiliate, or joint venture) from at least January 1, 2009
          through the present.

          Specifically excluded from this Class are Defendants, their officers, directors or
          employees, any entity in which a Defendant has a controlling interest and any affiliate,
          legal representative, heir or assign of a Defendant. Also excluded from this Class are
          any judicial officers presiding over this action, the members of the judicial officer’s
          immediate family and staff and any juror assigned to this action.

          136.   Certification of Plaintiff’s claims for class-wide treatment is appropriate

because Plaintiff can prove the elements of its claims on a class-wide basis using the same

evidence as would be used to prove those elements in individual actions alleging the same

claims.

          137.   Class Identity: The Class is readily identifiable and one for which adequate

records exist.

          138.   Numerosity: The members of the Class are so numerous that their individual

joinder is impracticable. Due to the nature of the trade and commerce involved, Plaintiff

believes there are hundreds of Class members. The precise number or identification of Class

members is presently unknown to Plaintiff, but may be ascertained from Defendants’ books

and records. Class members may be notified of the pendency of this action by mail, email,

Internet postings and publication.

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       139.   Typicality: Plaintiff’s claims are typical of the claims of the Class members

because Plaintiff purchased commercial flooring services and products directly from one or

more Defendant during the Class Period and has been injured in the same way—by paying

more for commercial flooring services and products than it would have but for Defendants’

Conspiracy. Plaintiff’s claims arise from the same common course of conduct, give rise to the

same claims of injury and seek the same relief as those of the other Class members.

       140.   Common Questions Predominate: Questions of law and fact common to the

Class, which generate common answers, include but are not limited to:

              a.     Whether Defendants and their co-conspirators engaged in an agreement,
                     combination or conspiracy to rig bids and fix, raise, elevate, maintain or
                     stabilize prices of commercial flooring services and products sold in
                     interstate commerce in the United States;

              b.     The identity of the participants of the Conspiracy;

              c.     The duration of the Conspiracy;

              d.     The acts performed by Defendants and their co-conspirators in
                     furtherance of the Conspiracy;

              e.     Whether the Conspiracy violated Section 1 of the Sherman Antitrust
                     Act, 15 U.S.C. § 1;

              f.     The effect of the Conspiracy on the price of commercial flooring
                     services and products sold in the United States during the Class Period;

              g.     Whether Plaintiff and other Class members suffered antitrust injury as a
                     result of the Conspiracy;

              h.     The appropriate measure of damages for injuries suffered by Plaintiff
                     and other Class members; and

              i.     Whether Plaintiff and other Class members are entitled to injunctive
                     relief, and the nature and extent of such injunctive relief.




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       141.    These and other questions of law and fact common to all members of the Class

predominate over questions affecting only individual members of the Class.

       142.    Adequacy: Plaintiff will fairly and adequately protect the interests of the Class

because Plaintiff’s interests are aligned with, and are not antagonistic to, those of the other

Class members. Plaintiff has retained counsel competent and experienced in the prosecution

of class actions and antitrust litigation to represent them and the Class.

       143.    Superiority: A class action is superior to other available methods for the fair and

efficient adjudication of this controversy for the following reasons: (i) individual joinder of

all Class members is impractical; (ii) prosecution as a class action will eliminate the possibility

of duplicative litigation; (iii) prosecution of separate actions by individual Class members

would create the risk of inconsistent or varying decisions and adjudications, creating uncertain

and potentially incompatible standards for adjudicating the claims and defenses asserted in

this action; (iv) the relatively small amount of damages suffered by individual Class members,

when compared to the expense and burden of individual prosecution of their individual claims,

preclude feasible and practical individual actions to seek redress for the violations alleged; and

(v) individual litigation would greatly magnify the delay and expense to all parties and to the

court system. For these reasons, a class action will reduce case management difficulties and

provide the benefits of unitary adjudication, economy of scale and comprehensive supervision

by a single court.

       144.    In addition, Defendants have acted on grounds generally applicable to the

Class, making final injunctive relief appropriate for the Class as a whole.




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                      XI.   CLAIM FOR RELIEF
 VIOLATIONS OF SECTION 1 OF THE SHERMAN ANTITRUST ACT (15 U.S.C. § 1)

       145.   Plaintiff incorporates and realleges every allegation set forth in the preceding

paragraphs of this Complaint.

       146.   During the Class Period, Defendants and their co-conspirators entered into a

continuing agreement, combination or conspiracy in restraint of trade to artificially raise, fix,

maintain or stabilize prices for commercial flooring services and products sold in the United

States and to allocate jobsites and customers for commercial flooring services and products

sold in the United States, in violation of Section 1 of the Sherman Antitrust Act, 15 U.S.C. §

1.

       147.   The contract, combination or conspiracy resulted in an agreement,

understanding or concerted action between and among the Defendants and their co-

conspirators in furtherance of which the Defendants and their co-conspirators fixed, raised,

maintained or stabilized prices, and allocated jobsites and customers, for commercial flooring

services and products sold in or into the United States. Such contract, combination or

conspiracy constitutes a per se violation of the federal antitrust laws.

       148.   Defendants succeeded in fixing, raising, maintaining and stabilizing the prices

as well as allocating jobsites and customers for commercial flooring services and products

sold in the United States during the Class Period.

       149.   Defendants’ acts in furtherance of their combination or conspiracy were

authorized, ordered or done by their officers, agents, employees or representatives while

actively engaged in the management of Defendants’ affairs.

       150.   For purposes of formulating and effectuating their conspiracy, Defendants and

their co-conspirators did those things they contracted, combined or conspired to do, including:

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               a.      Restraining trade or commerce by fixing, controlling or maintaining, at
                       artificial and supracompetitive levels, the prices at which commercial
                       flooring services and products were sold in the United States;

               b.      Depriving direct purchasers of commercial flooring services and products
                       of free and open competition;

               c.      Selling commercial flooring services and products to direct purchasers in
                       the United States at supracompetitive prices; and

               d.      Employing measures to conceal the true nature of their unlawful conduct
                       from Plaintiff and other members of the Class in furtherance of the
                       conspiracy.

       151.    As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff and the

other members of the Class have been injured in their businesses and property in that they have

paid significantly higher prices for commercial flooring services and products than they otherwise

would have paid in a competitive market.

                                XII.    REQUEST FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of itself and other members of the Class, requests

that the Court grant the following relief:

       A.      Determine that this action may be maintained as a class action under Rule 23(a),

(b)(2), and (b)(3) of the Federal Rules of Civil Procedure, appoint Plaintiff as Class representative

and its counsel of record as Class counsel, and direct that notice of this action, as provided by Rule

23(c)(2) of the Federal Rules of Civil Procedure, be given to the Class, once certified;

       B.      Adjudge that the Conspiracy and the acts done by Defendants and their co-

conspirators in furtherance thereof constitute a per se violation of Section 1 of the Sherman

Antitrust Act, 15 U.S.C. § 1;

       C.      Enter judgment for Plaintiff and Class members against Defendants for three

times the amount of damages sustained by Plaintiff and other Class members as a result of


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Defendants’ violations of Section 1 of the Sherman Antitrust Act and costs of this action,

including reasonable attorneys’ fees, as permitted in Sections 4 and 16 of the Clayton Act, 15

U.S.C. §§ 15 and 26;

       D.      Award Plaintiff and the members of the Class pre-judgment and post-judgment

interest at the highest legal rate from commencement of this proceeding, to the extent allowed

by law;

       E.      Permanently enjoin Defendants and their co-conspirators, their respective

affiliates, successors, transferees, assignees, officers, directors, partners, agents and

employees, and all other persons acting or claiming to act on their behalf or in concert with

them, from continuing, maintaining or renewing the conduct, conspiracy or combination and

from entering into any other contract, conspiracy or combination having a similar purpose or

effect, and from adopting or following any practice, plan, program or device having a similar

purpose or effect caused by any further violation of the antitrust laws; and

       F.      Such other and further relief as the Court may deem just and proper under the

circumstances.

                             XIII. JURY TRIAL DEMANDED

       Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by jury

of all of the claims asserted in this Complaint so triable.

Dated: December 18, 2020                     Respectfully submitted,

                                             By: /s/ Michael L. Silverman

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